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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                   *
                                            *
     v.                                     *              Criminal No. 05-10102-JLT
                                            *
JOHN BRUENS, MARY STEWART,                  *
MELISSA VAUGHN, and                         *
MARC SIROCKMAN,                             *
                                            *
                     Defendants.            *


                                           ORDER

                                        April 12, 2007


TAURO, J.

     After a conference held on April 12, 2007, this court hereby orders that:

     1.       Defendants’ Motion in Limine to Exclude Testimony by Saul N. Malozowski,

              M.D., PH.D., [#128] is ALLOWED.

     2.       The United States’ Motion in Limine to Admit Redacted Memoranda [#133] is

              DENIED.

     3.       Defendants John Bruens, Mary Stewart and Marc Sirockman’s Motion in Limine

              to Exclude Voicemail [#100] is DENIED.

     4.       Defendant Vaughn’s Motion in Limine to Redact Voicemail [#95] is ALLOWED

              IN PART. Kimberly Jackson may testify about the contents of paragraphs two

              and three of her transcription of Melissa Vaughn’s voicemail, but the transcribed

              document itself is not admissible in evidence. Although paragraph four is not

              admissible, the contents of the paragraph may be admissible in another context
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     provided that the Government is able to lay a proper foundation.

IT IS SO ORDERED.



                                               /s/ Joseph L. Tauro
                                          United States District Judge




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